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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

ROBERT TREPETA,
On behalf of himself and all
other similarly situated individuals,

        Plaintiffs,

v.                                                       Civil Action No: _______________
                                                                           3:20-cv-00443-DJN

TRUIST FINANCIAL CORPORATION

        SERVE CT Corporation System
              4701 Cox Road Ste 285
              Glen Allen, VA 23060

        Defendant.

                                          COMPLAINT

        COMES NOW the Plaintiff, Robert Trepeta, by counsel, as for his Class Complaint against

the Defendant, Truist Financial Corporation, (“Truist”), formerly known as SunTrust Bank, he

states as follows:

                                PRELIMINARY STATEMENT

        1.      This is an action for actual or statutory, and treble damages pursuant to the

Telephone Consumer Protection Act (“TCPA”) 47 U.S.C. § 227, et seq.

        2.      The Defendant sent hundreds of text messages to the Plaintiff’s cellular phone

using an “automatic telephone dialing system (“ATDS”), as defined by 47 U.S.C. § 227(a)(1),

after he revoked his consent to receive such messages via numerous communications with the

Defendant including both electronically and through U.S. Mail.

        3.      The TCPA regulates text messages. Report and Order, In re Rules & Regulations

Implementing the Tel. Consumer Prot. Act of 1991, 18 F.C.C. Rcd. 14014, at ¶ 165 (F.C.C. July
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3, 2003). In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30 F.C.C.

Rcd. 7961, at ¶¶ 27, 107–108, 111–115 (F.C.C. July 10, 2015).

        4.     The TCPA allows a consumer to revoke their prior consent. Id. at ¶¶ 63, 64.

        5.     The Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) multiple times by

repeatedly sending the Plaintiff unwanted text messages to his cellular phone after he revoked

consent by both following the specific instructions provided to him by the Defendant to get the

text messages to stop via its text messaging system, and also after his numerous additional

communications with the Defendant by U.S. Mail.

        6.     The Plaintiff is entitled to actual or statutory damages, and treble damages

pursuant to 47 U.S.C. § 227(b)(3) for the Defendant’s willful and knowing violations of the

TCPA.

                                         JURISDICTION

        7.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 47 U.S.C. § 227.

                                             PARTIES

        8.     The Plaintiff is a natural person residing in Virginia, and at all times relevant hereto

was an individual as defined by “person” at 47 U.S.C. § 153(39).

        9.     The Defendant, Truist, is a corporation authorized to do business in the

Commonwealth of Virginia through its registered agent in Glen Allen, Virginia.

        10.    The Plaintiff and Defendant had an “established business relationship” as defined

by 47 U.S.C. 227(a)(2).

                                   STATEMENT OF FACTS

        11.    In late 2019, the Plaintiff opened a SunTrust checking account.




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         12.      Upon the opening of the account, Plaintiff was registered for Online Banking by

providing his cellphone number as instructed by SunTrust.

         13.      Shortly thereafter, Plaintiff began receiving text messages from SunTrust on his

cellular phone.

         14.      The Plaintiff’s cellular phone number is identified as 757-###-6812.

         15.      Based upon information and belief, the Defendant sent the text messages using an

automatic dialing system as defined by 47 U.S.C. § 227(a)(1).

         16.      On or about December 2, 2019, the Plaintiff texted “STOP” from his cell phone to

“shortcode” 786411 as instructed by the SunTrust Online Services Agreement that governed his

banking relationship with SunTrust.

         17.      Plaintiff thereafter continued to receive text messages from the Defendant.

         18.      On December 13, 2019, Plaintiff sent a letter to Truist requesting that it stop

sending text messages to his cell phone.

         19.      This letter was received by the Defendant.

         20.      The Plaintiff thereafter continued to receive text messages from the Defendant.

         21.      On or about December 17, 2019, the Plaintiff sent a second letter to Truist via its

registered agent in Raleigh, North Carolina, requesting that it stop sending text messages to his

cell phone.

         22.      This letter was received by the Defendant.

         23.      The Plaintiff thereafter continued to receive text messages from the Defendant.

         24.      On or about February 13, 2020, the Plaintiff sent a third letter to Truist via its

registered agent in Glen Allen, Virginia, requesting that it stop sending text messages to his cell

phone.



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       25.     The Plaintiff continued to receive text messages from the Defendant.

       26.     On or about March 26, 2020, the Plaintiff sent a fourth letter by registered mail

addressed to Truist Bank via its registered agent in Glen Allen, Virginia requesting that it stop

sending text messages to his cell phone.

       27.     The Plaintiff continued to receive text messages from the Defendant.

       28.     Despite the Defendant receiving multiple notifications from the Plaintiff that he did

not want to receive text messages from Truist, the Defendant continued to send text messages to

the Plaintiff’s cellular phone.

       29.     The Defendant failed to comply with the requirements of the TCPA and associated

governing F.C.C. Rules and Regulations by continuing to transmit unwanted text messages via an

ATDS to the Plaintiff after he had revoked his consent, causing the Plaintiff to sustain damages to

include, but not limited to: intrusion on the Plaintiff’s privacy, occupation of the capacity of the

Plaintiff’s cell phone, loss of the Plaintiff’s time, additional cellular charges, and accompanying

emotional distress.

       30.     The Defendant is aware of its obligations under the TCPA.

       31.     Despite knowing these legal obligations, the Defendant acted consciously in

breaching its known duties and violated the Plaintiff’s rights by failing to cease sending text

messages to Plaintiff’s cell phone using an ATDS after the Plaintiff revoked his consent.

       32.     The Defendant’s conduct was not a mere mistake or accident. Instead, it was the

intended result of its standard operating procedures, and the Defendant’s violations were

willfully and knowingly committed.

       33.     From December 2, 2019 (the date that the Plaintiff first revoked his consent) to

present, he has received at least 368 text messages from the Defendant.



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                              COUNT ONE: Class Action Claim
                            Violation of 47 U.S.C. § 227(b)(1)(A)(iii)

       34.     The Plaintiff restates each of the allegations in paragraphs 1 through 33 as if set

forth at length herein.

       35.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Plaintiff brings this

action for himself and on behalf of a class defined as follows:

       All natural persons residing in the United States (a) who opened a Truist checking
       account, (b) within the four-year period preceding the filing of this action and
       during its pendency, (c) to whom Truist thereafter sent text messages using an
       ATDS, (d) after such date as the class member revoked his or her consent. Excluded
       from the class definition are any employees, officers, or directors of Truist, any
       attorney appearing in this case, and any judge assigned to hear this action.

       36.     The Plaintiff also bring this action on behalf of a portion of the Class described as

the following subclass:

                                      The Short Code Subclass

       All natural persons residing in the United States (a) who opened a SunTrust/Truist
       checking account, (b) within the four-year period preceding the filing of this action
       and during its pendency, and (c) to whom Truist thereafter sent text messages using
       an ATDS, (d) after such date as the class member revoked his or her consent by
       sending the word “STOP” or any sentence, word, phrase or string of letters
       containing the word “STOP” to short code 786411. Excluded from the class
       definition are any employees, officers, or directors of Truist, any attorney appearing
       in this case, and any judge assigned to hear this action.

       37.     The Plaintiff incorporates his prior allegations and estimates that the class is so

numerous that joinder of all members is impractical. Although the precise number of class

members is known only to the Defendant, upon information and belief, Truist opens and services

hundreds of thousands of individual checking accounts each year. Assuming that even if only 1

out of every 100 checking account customers attempted to stop Truist from sending text messages,

the class size would still be in the tens of thousands.




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        38.     The Plaintiff’s claim is typical of those of the class members. All are based on the

same facts and legal theories. Truist’s failure to stop sending text messages using an ATDS after

a person revokes consent is typical of its regular business practices and policies.

        39.     The Plaintiff will fairly and adequately protect the interests of the class. The

Plaintiff has retained counsel experienced in handling class actions. Neither the Plaintiff nor his

counsel has any interests that might cause them to not vigorously pursue this action. The Plaintiff

is aware of his responsibilities to the putative class and has accepted such responsibilities.

        40.     Certification of a class under Rule 23(b)(1) of the Federal Rules of Civil Procedure

is proper. Prosecuting separate actions would create a risk of adjudications that would be

dispositive of the interests of the other members not parties to the individual adjudications or would

substantially impair their ability to protect their interests.

        41.     Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil Procedure

is appropriate in that the Defendant has acted on grounds generally applicable to the class, thereby

making appropriate declaratory relief with respect to the class as a whole.

        42.     Certification of the class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is also appropriate in that:

                a.      As alleged above, the questions of law or fact common to the members of

        the class predominate over any questions affecting an individual member. Each of the

        common facts and legal questions in the case overwhelm the more modest individual

        damages issues. Further, those individual issues that do exist can be effectively streamlined

        and resolved in a manner that minimizes the individual complexities and differences in

        proof in the case.




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               b.     A class action is superior to other available methods for the fair and efficient

       adjudication of the controversy. Consumer claims generally are ideal for class treatment as

       they involve many, if not most, consumers who are otherwise disempowered and unable to

       afford to bring such claims individually.         Further, most consumers affected by the

       Defendant’s TCPA violation would likely be unaware of their rights under the law, or who

       they could find to represent them in federal litigation. Additionally, individual litigation

       of the uniform issues in this case would be a waste of judicial resources. The issues at the

       core of this case are class wide and should be resolved at one time. A win for one consumer

       would set the law for every similarly situated consumer.

       43.     Truist violated 47 U.S.C. § 227(b)(1)(A)(iii) by using an ATDS to send text

messages to the Plaintiff and purported class members’ phones lines after they revoked their

consent.

       44.     The Defendant’s conduct was not a mere mistake or accident. Instead, it was the

intended result of their standard operating procedures

       45.     As a result of Truist’s conduct and actions, the Plaintiff and purported class

members suffered actual damages.

       46.     As a result of Truist’s conduct and actions, the Plaintiff and purported class

members are entitled to statutory damages.

       47.     Defendant’s violations of 47 U.S.C. § 227(b)(1)(A)(iii) were willfully and

knowingly committed, rendering the Defendant liable for actual or statutory damages, and treble

damages under 47 U.S.C. § 227(b)(3).

                                    PRAYER FOR RELIEF

       Wherefore, the Plaintiff seeks relief and judgment against the Defendant as follows:



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       48.     Pursuant to 47 U.S.C. § 227(b)(3)(A), the Plaintiff, on behalf of himself and the

putative class members, seeks injunctive relief against the Defendant prohibiting violations of 47

U.S.C. § 227(b)(1)(A) in the future. Pursuant to 47 U.S.C. § 227(b)(3)(B), the Plaintiff, on behalf

of himself and the putative class members, seeks $500.00 in statutory damages for each and every

violation of 47 U.S.C. § 227(b)(1)(A)(iii). Pursuant to 47 U.S.C. § 227(b)(3)(C), the Plaintiff, on

behalf of himself and the putative class members, seeks treble damages for each and every willful

and knowing violation of 47 U.S.C. § 227(b)(1)(A)(iii).

The Plaintiff and the Class requests a trial by jury.

                                             Respectfully submitted,
                                             ROBERT TREPETA

                                             ___________/s/________________
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